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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF MARYLAND

UNITED STATES OF AMERICA,                             )
                                                      )
                         Plaintiff,                   )
                                                      )
               v.                                     )       CIVIL NO.:
                                                      )                        1:23-cv-01224-ELH
 $48,800 in U.S. CURRENCY,
                                                      )
                         Defendant.                   )

                               WARRANT FOR ARREST IN REM

TO:    THE DEPARTMENT OF HOMELAND SECURITY AND/OR ANY OTHER
       DULY AUTHORIZED LAW ENFORCEMENT OFFICER


       WHEREAS, on May 9, 2023, the United States of America filed a verified complaint for

civil forfeiture in rem in the United States District Court for the District of Maryland against the

above-named Defendant Property, alleging that said Defendant Property is subject to seizure and

civil forfeiture to the United States for the reasons mentioned in the complaint; and

       WHEREAS, the Defendant Property is currently in the possession, custody or control of

the United States; and

       WHEREAS, in these circumstances Supplemental Rule G(3)(b)(i) directs the Clerk of the

Court to issue an arrest warrant in rem for the arrest of the Defendant Property; and

       WHEREAS, Supplemental Rule G(3)(c) provides that the warrant of arrest in rem must be

delivered to a person or organization authorized to execute it;

       NOW THEREFORE you are hereby commanded to arrest the above-named Defendant

Property by serving a copy of this warrant on the custodian in whose possession, custody or control

the Defendant Property is presently found, and to use whatever means may be appropriate to

protect and maintain it in your custody until further order of this Court.
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         YOU ARE FURTHER COMMANDED, promptly after execution of this process, to file

the same in this Court with your return thereon, identifying the individuals upon whom copies

were served and the manner employed.

Dated:        5/9/2023



                                          Clerk of the Court
                                          United States District Court

                                              /s/ D. Gomez
                                   By:
                                          Deputy Clerk




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